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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

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                                        U                STATES DISTRICT COURT
                IS T
     CLERK, U.S                                                          for the
                                                        Northern District
                                                     __________  District of
                                                                          of Illinois
                                                                             __________               24CV809
                                                                                                      Judge Sara L. Ellis
                                                              __________
                                                              __________ Division
                                                                         Division                     Magistrate Judge Jeffrey T. Gilbert
                                                                                                      RANDOM CAT 2
                           Ana McCarthy                                     )      Case No.
                                                                            )                     (to be filled in by the Clerk’s Office)
                                                                            )
                              Plaintiff(s)                                  )
(Write the full name of each plaintiff who is filing this complaint.        )
If the names of all the plaintiffs cannot fit in the space above,
                                                                                   Jury Trial: (check one)     ’ Yes        ✔
                                                                                                                            ’ No
please write “see attached” in the space and attach an additional           )
page with the full list of names.)                                          )
                                  -v-                                       )
 Illinois Department of Children and Family Services,                       )
   Sean Verschoore, Elizabeth Verschoore, Jennifer                          )
   Fenske, Christopher Wilson, CJW, other relatives                         )
                                                                            )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                            )
names of all the defendants cannot fit in the space above, please           )
write “see attached” in the space and attach an additional page             )
with the full list of names.)



                                                   COMPLAINT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                   Ana McCarthy
                                Street Address                         209 Spencer Street, Apt. 2C
                                City and County                        Brooklyn - Kings County
                                State and Zip Code                     New York - 11205
                                Telephone Number                       (312) 659-9627
                                E-mail Address                         AnaMcCarthy1@gmail.com


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.


                                                                                                                                            Page 1 of 5
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                     Defendant No. 1
                                Name                        Illinois Department of Children and Family Services
                                Job or Title (if known)     c/o Richard Rees - Office of the IL Attorney General
                                Street Address              115 South LaSalle Street
                                City and County             Chicago - Cook County
                                State and Zip Code          Illinois 60603
                                Telephone Number            (312) 814-3000
                                E-mail Address (if known)   richard.rees@ilag.gov


                     Defendant No. 2
                                Name                        Sean and Elizabeth Verschoore
                                Job or Title (if known)
                                Street Address              2821 Oakmont Drive
                                City and County             Montgomery - Kendall County
                                State and Zip Code          Illinois - 60538
                                Telephone Number            (630) 212-5814
                                E-mail Address (if known)


                     Defendant No. 3
                                Name                        Jennifer Fenske, Christopher Wilson, CJM
                                Job or Title (if known)
                                Street Address              620 S 30th Street
                                City and County             Mattoon - Coles County
                                State and Zip Code          Illinois - 61938
                                Telephone Number            (217) 690-6400
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)



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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                   ✔ Federal question
                   ’                                               ’ Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                      Injunctive Relief seek by the parent of a minor, disabled child against the party and a permanent
                      restrainig Order against Sean Verschoore, Elizabeth Verschoore. 750 ILCS 50/1 (Adoption).




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                                    , is a citizen of the
                                           State of (name)                                                  .


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                    , is incorporated
                                           under the laws of the State of (name)                                                            ,
                                           and has its principal place of business in the State of (name)
                                                                                            .

                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name) Illinois Dept of Children and Family Services , is a citizen of
                                           the State of (name) Illinois                                         . Or is a citizen of
                                           (foreign nation)                                       .

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                                b.         If the defendant is a corporation
                                           The defendant, (name)                                        , is incorporated under
                                           the laws of the State of (name)                                        , and has its
                                           principal place of business in the State of (name)                                      .
                                           Or is incorporated under the laws of (foreign nation)                                   ,
                                           and has its principal place of business in (name)                                       .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy–the amount the plaintiff claims the defendant owes or the amount at
                                stake–is more than $75,000, not counting interest and costs of court, because (explain):
                                 $50,000.000.00

                                 Emotional damage by falsely making claims via online posting and social media.




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
          The event took place in the State of Illinois. I'm the parent of a child RJM. Jennifer Fenske is the birth mother, via
          a private prior arrangement that went wrong. She carried RJM for Plaintiff. During gestation. Jennifer was
          arraigned at which time, she declared she was pregnant and had exposed RJM to cocaine. Jennifer was placed
          in Hay Market House in Chicago. Jennifer and I met a few times, at which time she wanted to terminate the
          arrangement. I reiterated my committment for raise RJM, granted the difficulties after drug exposure. When RJM
          was born, she came to my home. I named RJM. Twenty-one days later, Jennifer, who was staying with her
          ex-husband Sean Verschoore reclaimed RJM. Sean was later identified as to have sexually abused RJM - infant.


IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          SEE ATTACHED

          Jennifer Fenske has made claims on websites and social media postings that Plaintiff is not the mother of RJM.
          This has caused situations, incluing a Mount Prospect Police raid, while on vacation in Illinois, and separating my
          (4) children from me - 8/31/2015. While working and visiting my parents abroad, a self proclaimed activist posted
          information about my children on social media. prompting an arrest from the local authorities. I had to leave via
          Costa Rica to procure a letter from the US Embassy. Contacting RJM via social media has caused her
          irreparable trauma, disassociative disorders. . I'm asking the Courts to enter a permanent injunction.
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         A Federal program, mandated visitation of RJM with birth mother, RJM had panicked attacks, kicking, biting,
         scratching Jennifer and suffering irreparable trauma including incontinence that has lasted til present time. RJM
         also has a sexualized behavior and needed special care and a "therapeutic school". IDCFS declined treatments
         comprehended in a contract. On December 12, 2023, RJM called Ana McCarthy desperately to come home. RJM
         was having a panic attack after Plaintiff left her alone at home to go to a nail salon. She dissasociates for long
         periods of time.



V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case–related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.

                     Date of signing:               01/30/2024


                     Signature of Plaintiff          /s/ Ana McCarthy
                     Printed Name of Plaintiff       Ana McCarthy


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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         Print                         Save As...        Add Attachment                                          Reset
